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                                                                                         FILED
                                                                                   December 08, 2021
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                  WESTERN DISTRICT OF TEXAS
                             UNITED STATES DISTRICT COURT                                Magda Muzza
                                                                               BY: ________________________________
                              WESTERN DISTRICT OF TEXAS                                                DEPUTY
                                 SAN ANTONIO DIVISION

THE UNITED STATES OF AMERICA                    )
                                                )
                      Plaintiff                 )
                                                )
v.                                              )
                                                )          Case No. 5: 21-CR-0531 -JKP
1) TIMOTHY BLAND                                )
       aka “GRANDMA”                            )
(2) CRANDALL JONES                              )
       aka “PUNIE”                              )
(3) LUIS TOVIAS                                 )
(5) PAMELA FELITA BREEDING                      )

                      Defendant.


                 GOVERNMENT=S MOTION TO UNSEAL INDICTMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney for the Western District of Texas, and files its Motion to Unseal Indictment

on the above referenced Defendants, Case Number 5:21-CR-531. Defendants are currently in

custody in Houston, Texas.

       WHEREFORE, PREMISES CONSIDERED, the Government requests that the Court

order the Indictment to be unsealed.

                                                     Respectfully submitted,

                                                     ASHLEY C. HOFF
                                                     United States Attorney

                                             By:     _______/s/_______________________
                                                     Sarah E. Spears
                                                     Assistant United States Attorney
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